         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:97cr162
                    CRIMINAL CASE NO. 3:97CR264
                    CRIMINAL CASE NO. 3:97CR290


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                   ORDER
                          )
                          )
MICHAEL ANTOINE JEFFERIES. )
                           )



     THIS MATTER is before the Court on reassignment.

     At the time of reassignment, there were pending in each of the above

cases two motions seeking a reduction in sentence pursuant to Federal

Rule of Criminal Procedure 35. [Docs. 18 & 19 in Case No. 3:97cr162;

Docs. 35 & 36 in Case No. 3:97cr264; Docs. 303 & 304 in Case No.

3:97cr290].

     On July 15, 1999, the Defendant was sentenced to a total of 212

months imprisonment by Judgment of Conviction entered simultaneously in

the cases as follows:

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1.   Criminal Case No. 3:97cr162: 152 months imprisonment on Count 1,

     conspiracy to possess with intent to distribute cocaine. [Doc. 16].

2.   Criminal Case No. 3:97cr264: 152 months imprisonment on Count 1,

     conspiracy to possess with intent to distribute cocaine, to run

     concurrently with Count 1 in Case No. 3:97cr162; 60 months

     imprisonment on Count 2, conspiracy to possess with intent to

     distribute cocaine while on pre-trial release, to run consecutively with

     Count 1 in this case and Count 1 in Case No. 3:97cr162. [Doc. 18].

3.   Criminal Case No. 3:97cr290: 152 months imprisonment on Count 1,

     conspiracy to possess with intent to distribute and distribution of

     cocaine, to run concurrently with Count 1 in Case No. 3:97cr162 and

     with Count 1 in Case No. 3:97cr264; and 152 months imprisonment

     on Count 2, conspiracy to import cocaine into the United States, to

     run concurrently with Count 1 in this case and with Count 1 in Case

     No. 3:97cr162 and with Count 1 in Case No. 3:97cr264. [Doc. 248].

The Defendant’s concurrent sentences were the result of a motion by the

United States for a downward departure pursuant to U.S.S.G. §5K1.1

based on his substantial assistance. The Defendant did not take a direct

appeal in any of the three cases.


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      On June 17, 2002, the Defendant moved for an order compelling the

United States to file a motion for a reduction in sentence based on

assistance rendered after sentencing. [Case No. 3:97cr264, Doc. 22; Case

No. 3:97cr290, Doc. 274]. That motion was denied and the Defendant’s

motion for reconsideration was also denied. [Case No. 3:97cr264, Docs. 28

& 30; Case No. 3:97cr290, Docs. 282 & 285]. The Defendant’s appeal

from those rulings was dismissed by the United States Fourth Circuit Court

of Appeals. United States v. Jefferies, 73 Fed.Appx. 598 (4th Cir. 2003).

      In the pending motions, the Defendant again moves for a reduction in

sentence based on substantial assistance rendered after sentencing. The

Defendant acknowledges that the purported information provided in April

2006 had been known to him since 1996 and that he had been submitting

it to the Government since 1999. Indeed, documents filed with the motion

show that he, in fact, did so. That, however, is insufficient to meet the

Defendant’s burden at this point. Since the Court has already disposed of

the issues presented in these motions, the previous ruling is the law of the

case. It binds the Court at this stage. The Defendant has not even shown

that the previous rulings of the Court are in any way incorrect. [Case No.

3:97cr264, Docs. 28 & 30; Case No. 3:97cr290, Docs. 282 & 285]. Nor


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has the Defendant presented anything to show that the Government’s

failure to move pursuant to Rule 35(b) was in any manner inappropriate.

See, e.g., United States v. Butler, 272 F.3d 683, 686 (4th Cir. 2001) (district

court has no authority to compel government to make such a motion

unless failure resulted from unconstitutional motive or was not rationally

related to legitimate government goal); United States v. White, 280

Fed.Appx. 317 (4th Cir. 2008). In short, the Defendant has given the Court

nothing on which the Court could grant his motion.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Modify Sentence Pursuant to Rule 5(b) Plea Agreement and his Motion to

Amend Under 18 U.S.C. §35(b), Pursuant to Spriggs v. United States,

[Docs. 18 & 19 in Case No. 3:97cr162; Docs. 35 & 36 in Case No.

3:97cr264; Docs. 303 & 304 in Case No. 3:97cr290], are hereby DENIED.




                                      Signed: January 21, 2009




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